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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Nebraska
                                                                           of __________
                  United States of America                                 )
                             v.                                            )
                    Neil Suresh Chandran                                   )        Case No. 4:22cr3077
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Tom Hale, Dir. of Corporate Security, Legal Compliance, Inuit, Inc.

                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
See Attachment A


Place: Tian Huang                                                                   Date and Time: 10/07/2022 9:00 am
         1400 New York Avenue NW, Washington, D.C. 20530


         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)
United States of America                                                              , who requests this subpoena, are:
 William Johnston, Tian Huang, 1400 New York Avenue NW, Washington, D.C. 20530, Phone: 202-514-0687
 (Johnston), 202-598-2523 (Huang), William.Johnston4@usdoj.gov, Tian.Huang@usdoj.gov

                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
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Case No. 4:22cr3077

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
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                                      Attachment A



       Any and all stored communications, records, and other evidence currently in your
possession regarding any accounts (e.g. QuickBooks Online Essentials, QuickBooks Commerce)
associated with the following entities or individuals:
      x   Studio Vi, Inc. (Company ID: 9130349533641396), associated with the email
          studio@virse.com, billed to Lauren Velazquez, STUDIO VI INC, 3004 Rigel Ave, Las
          Vegas, NV 89102-0709
      x   ViDelivery, Inc. (Company ID: 9130349463355956), associated with the email
          owen@virse.com, billed to Owen Cran, Videlivery Inc. 2735 Grassy Spring Pl, Las
          Vegas, NV 89135-1601
      x   ViMarket, Inc. (Company ID: 9130349677433576), associated with the email
          owen@virse.com, billed to Owen Cran, Vimarket, Inc. 2735 Grassy Spring Pl, Las
          Vegas, NV 89135-1601
